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                 EXHIBIT 5


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 1   CLEMENT SETH ROBERTS (STATE BAR NO. 209203)
     croberts@orrick.com
 2   BAS DE BLANK (STATE BAR NO. 191487)
     basdeblank@orrick.com
 3   ALYSSA CARIDIS (STATE BAR NO. 260103)
     acaridis@orrick.com
 4   EVAN D. BREWER (STATE BAR NO. 304411)
     ebrewer@orrick.com
 5   ORRICK, HERRINGTON & SUTCLIFFE LLP
     The Orrick Building
 6   405 Howard Street
     San Francisco, CA 94105-2669
 7   Telephone:    +1 415 773 5700
     Facsimile:    +1 415 773 5759
 8
     SEAN M. SULLIVAN (pro hac vice)
 9   sullivan@ls3ip.com
     COLE RICHTER (pro hac vice)
10   richter@ls3ip.com
     LEE SULLIVAN SHEA & SMITH LLP
11   656 W Randolph St., Floor 5W
     Chicago, IL 60661
12   Telephone:     +1 312 754 0002
     Facsimile:     +1 312 754 0003
13
     Attorneys for Defendant Sonos, Inc.
14
15                               UNITED STATES DISTRICT COURT
16                            NORTHERN DISTRICT OF CALIFORNIA
17                                   SAN FRANCISCO DIVISION
18   GOOGLE LLC,                                 Case No. 3:20-cv-06754-WHA
                                                 Related to Case No. 3:21-cv-07559-WHA
19          Plaintiff and Counter-defendant,
20                                               OPENING EXPERT REPORT OF
            v.                                   DR. KEVIN C. ALMEROTH
21   SONOS, INC.,
22          Defendant and Counter-claimant.
23
24
25
26
27
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 1   technology provides over prior art grouping technology in granting Sonos’s motion for summary

 2   judgment of infringement of Asserted Claim 1 of the ’885 Patent. See D.I. 309 at 3-4, 12.

 3          730.    Lastly, during a discussion with Mr. Nick Millington, who is Sonos’s Chief

 4   Innovation Officer, I asked Mr. Millington for his thoughts regarding the importance of Sonos’s

 5   “saved groups” feature. In response, Mr. Millington indicated that he believed this feature, which

 6   practices the claimed technology of the ’885 and ’966 Patents (see Section XVII), was important

 7   to Sonos and its customers for similar reasons to those summarized above with respect to Google.

 8   Mr. Millington also pointed out that providing “saved groups” can be very beneficial for a user

 9   who likes to invoke “save groups” for synchronous playback via voice. In my opinion, Google

10   customers that prefer to invoke Google “speaker groups” via Google Assistant would likewise

11   benefit from Google’s use of Sonos’s patented “zone scene” technology.

12   XVI. ALLEGED NON-INFRINGING ALTERNATIVES

13          731.    I have been asked to evaluate and provide my opinions regarding whether there are

14   any acceptable non-infringing alternatives to the claimed technology of the ’885 and ’966 Patents.

15          732.    As part of my evaluation, I have reviewed Google’s First Supplemental Response

16   to Interrogatory No. 18, which sets forth three alleged non-infringing alternatives. I also reviewed

17   the June 22, 2022 Opening Expert Report of Google’s expert, Dr. Dan Schonfeld, regarding

18   Asserted Claim 1 of the ’885 Patent, the July 27, 2022 Rebuttal Expert Report of Dr. Schonfeld

19   regarding Asserted Claim 1 of the ’885 Patent, and the August 31, 2022 deposition testimony of

20   Dr. Schonfeld. Based on my review of these materials, it is my understanding that Google and/or

21   Dr. Schonfeld are asserting three purported non-infringing alternatives to the claimed technology

22   of the ’885 and ’966 Patents.12

23          733.    For the reasons explained below, it is my opinion that none of Google’s three

24
25   12
        As noted above, I understand that recently Google allegedly produced a “new version of its
26   source code” that relates to its second purported non-infringing alternative that Google refers to as
     “no standalone mode.” However, I have not yet had a chance to inspect the “new” code. Thus, I
27   reserve my right to address the “new” code in a supplement to this report and/or in my reply report
     after I have inspected the “new” code and/or have been provided with additional evidence related
28   to the “new” code.

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 1   purported non-infringing alternatives is non-infringing, available to Google, and commercially

 2   acceptable. Moreover, I am currently unaware of any other alternative to the claimed technology

 3   of the ’885 and ’966 Patents that is non-infringing, available to Google, and also provides the same

 4   advantages as the claimed technology of the ’885 and ’966 Patents such that it would be considered

 5   commercially acceptable.

 6          A.      Non-Infringing Alternative #1

 7          734.    As set forth in Google’s First Supplemental Response to Interrogatory No. 18,

 8   Google refers to its first purported non-infringing alternative as “Google’s products” and asserts

 9   that “Google’s products do not infringe the asserted claims of the ’885 and ’966 patents” and

10   “[a]ccordingly, the accused Google products are themselves non-infringing alternatives to the

11   asserted claims.” See Google’s Eighth Suppl. Resp. to Sonos’s First Set of Interrogatories at 8.

12          735.    As an initial matter, this is not an “alternative” to the Accused Google Controllers

13   or the Accused Google Players. Additionally, the Court has already ruled that the Accused Google

14   Players infringe Asserted Claim 1 of the ’885 Patent. See D.I. 309. Thus, the Accused Google

15   Players are not “non-infringing.” Moreover, for all the reasons explained above, including many

16   of the same reasons set forth by the Court for why the Accused Google Players infringe Asserted

17   Claim 1 of the ’885 Patent, the Accused Google Controllers infringe each of the Asserted Claims

18   of the ’966 Patent and thus are not “non-infringing.”

19          B.      Non-Infringing Alternative #2

20                  1.      Overview of Non-Infringing Alternative #2

21          736.    As set forth in Google’s First Supplemental Response to Interrogatory No. 18,

22   Google refers to its second alleged non-infringing alternative as “no standalone mode” and asserts

23   that “[w]ith this non-infringing alternative, infringement is avoided by having the ‘standalone’

24   speaker that is added to two zone scenes not continue to operate in ‘standalone’ mode after it has

25   been added to those zone scenes” and “[i]nstead, the accused ‘standalone’ speaker after being

26   added to a zone scene may match the music (or silence) of the target zone scene.” See Google’s

27   Eighth Suppl. Resp. to Sonos’s First Set of Interrogatories at 8-9. Google further asserts:

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            In this alternative, the accused zone player would never “continue to operate in
 1          standalone mode” after receiving the indication that it “has been added to a first
            zone scene.” Rather, the accused zone player would immediately adopt the
 2          behavior of the accused “zone scene” to which it was added. Therefore, the accused
            zone player would no longer be “configured to play back media individually” or,
 3          equivalently, remain in the accused “standalone mode.”
 4          All asserted claims of the ’885 and ’966 patents require the “standalone mode”
            functionality discussed above, and therefore this non-infringing alternative applies
 5          to all asserted claims.
 6   Id. at 9. In other words, according to Google, its second purported non-infringing alternative

 7   allegedly avoids infringement of Asserted Claim 1 of the ’885 Patent and all the Asserted Claims

 8   of the ’966 Patent because the Accused Google Players would not “continue to operate in

 9   standalone mode” after being added to a new speaker group.

10          737.    Similarly, in describing what Google’s expert, Dr. Dan Schonfeld, alleges to be this

11   same purported non-infringing alternative in his Opening Expert Report regarding Asserted Claim

12   1 of the ’885 Patent, Dr. Schonfeld stated:

13          [Claim 1 of the ’885 Patent] requires that “after receiving the first and second
            indications, continuing to operate in the standalone mode until a given one of the
14
            first and second zone scenes has been selected for invocation.” In other words, the
15          claim requires the a zone player that was playing back music individually to be
            added to two different zone scenes, but to continue to operate in a “standalone
16          mode” until one of the two zone scenes is “invoked.” . . . Infringement may
            therefore be avoided simply by having the “standalone” speaker that is added to
17          two zone scenes not continue to operate in “standalone” mode after it has been
18          added to those zone scenes.

19   Opening Expert Report of Dan Schonfeld, dated June 22, 2022 and corrected on July 10, 2022, at
20   ¶¶ 727-728. Thus, consistent with the statements in Google’s First Supplemental Response to
21   Interrogatory No. 18, Dr. Schonfeld asserts that Google’s second purported non-infringing
22   alternative allegedly avoids infringement of Asserted Claim 1 of the’885 Patent because the
23   Accused Google Players would not “continue to operate in standalone mode” after being added to
24   a new speaker group.
25          738.    Dr. Schonfeld also testified regarding how this alleged non-infringing alternative
26   would operate in four different scenarios:
27
28

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            Q. … [I]f we have a player that is playing audio and it's added to a new group with
 1          a player that's not playing audio, what would happen with the non-infringing
 2          alternative?

 3          A. Both players would play the same audio that the player was playing.

 4          Q. If a player playing audio is added to a new group with a player that's playing
            different audio, what would happen with the non-infringing alternative?
 5

 6          A. Once the group would elect the leader, [] the audio playing on the leader would
            be playing on both devices.
 7
            Q. If a player that is not playing audio is added to a new group with a player that is
 8          playing audio, what would happen with the non-infringing alternative?
 9
            A. … They would both be playing the same audio.
10
            Q. … [I]f a player is not playing audio and is added to a new group with another
11          player that's also not playing audio, what would happen?
12
            A. They both would not be playing, ... but the moment either one of them is playing,
13          it would start playing on both.

14   Schonfeld Dep. Tr. (August 31, 2022) at 66:10-24, 69:19-71:13.

15          739.    Dr. Schonfeld went on to testify that this alleged non-infringing alternative would

16   function such that once Accused Google Players are added to a new speaker group then “they are

17   part of the group” and they “could not actually play individually from that moment on … until the

18   group was dismantled.” Id. at 71:14-72:6. In this way, Dr. Schonfeld’s testimony makes clear

19   that Google’s second purported non-infringing alternative allegedly avoids infringement because

20   the Accused Google Players would not continue to operate in standalone mode after being added

21   to a new speaker group.

22          740.    In my opinion, Google’s second alleged non-infringing alternative would neither

23   be non-infringing nor commercially acceptable.

24                  2.      Non-Infringing Alternative #2 Is Not “Non-Infringing”

25          741.    In my opinion, Google’s second purported non-infringing alternative is not “non-

26   infringing” for at least the reason that it still infringes the Asserted Claims of the ’966 Patent.

27          742.    As noted above, both Google and its expert Dr. Schonfeld assert that this second

28   purported non-infringing alternative allegedly avoids infringement of Asserted Claim 1 of the ’885

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 1   Patent and all the Asserted Claims of the ’966 Patent because the Accused Google Players would

 2   not continue to operate in standalone mode after being added to a new speaker group at an Accused

 3   Google Controller. Instead, each Accused Google Player “would immediately adopt the behavior

 4   of the accused ‘zone scene’ to which it was added,” which I understand to mean that a new “speaker

 5   group” (a claimed “zone scene”) would be launched automatically in response to a user requesting

 6   that the new “speaker group” be created at an Accused Google Controller (as opposed to not being

 7   launched unless and until a user separately requests that the new “speaker group” be launched via

 8   an Accused Google Controller, which would cause the Accused Google Controller to send a

 9   message to at least one Accused Google Player in the new speaker group that causes the Accused

10   Google Players in the new speaker group to begin operating in accordance with the new speaker

11   group). In support of this alleged “non-infringement” position, Google and its expert, Dr.

12   Schonfeld, appear to rely on the express language of claim limitation 1.8 of Asserted Claim 1 of

13   the ’885 Patent, which recites “after receiving the first and second indications” that the first zone

14   player has been added to first and second zone scenes, the first zone player “continuing to operate

15   in the standalone mode until a given one of the first and second zone scenes has been selected for

16   invocation.” See Google’s Eighth Suppl. Resp. to Sonos’s First Set of Interrogatories at 8-9;

17   Opening Expert Report of Dan Schonfeld, dated June 22, 2022 and corrected on July 10, 2022, at

18   ¶¶ 727-728; Schonfeld Dep. Tr. (August 31, 2022) at 66:10-24, 69:19-71:13, 71:14-72:6.

19          743.    However, unlike Asserted Claim 1 of the ’885 Patent, the Asserted Claims of the

20   ’966 Patent do not require the first zone player “continuing to operate in the standalone mode”

21   “after receiving the first and second indications” that the first zone player has been added to first

22   and second zone scenes, respectively. Instead, with respect to the “first zone player” operating in

23   “standalone mode,” independent claims 1 and 9 of the ’966 Patent (the only asserted independent

24   claims of the ’966 Patent) recite the following:

25
            [1.4]/[9.1]      while serving as a controller for a networked media playback system
26          comprising a first zone player and at least two other zone players, wherein the first zone
27          player is operating in a standalone mode in which the first zone player is configured to play
            back media individually:
28

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                    [1.5]/[9.2]      receiving a first request to create a first zone scene comprising a
 1                  first predefined grouping of zone players including at least the first zone player and
 2                  a second zone player that are to be configured for synchronous playback of media
                    when the first zone scene is invoked;
 3
                    [1.6]/[9.3]      based on the first request, i) causing creation of the first zone scene,
 4                  ii) causing an indication of the first zone scene to be transmitted to the first zone
                    player, and iii) causing storage of the first zone scene;
 5
                    [1.7]/[9.4]    receiving a second request to create a second zone scene comprising
 6                  a second predefined grouping of zone players including at least the first zone player
 7                  and a third zone player that are to be configured for synchronous playback of media
                    when the second zone scene is invoked, wherein the third zone player is different
 8                  than the second zone player;

 9                  [1.8]/[9.5]     based on the second request, i) causing creation of the second zone
                    scene, ii) causing an indication of the second zone scene to be transmitted to the
10                  first zone player, and iii) causing storage of the second zone scene;
11
                    [1.9]/[9.6]     displaying a representation of the first zone scene and a
12                  representation of the second zone scene; and

13                  [1.10]/[9.7]    while displaying the representation of the first zone scene and the
                    representation of the second zone scene, receiving a third request to invoke the first
14                  zone scene; and
15          [1.11]/[9.8]    based on the third request, causing the first zone player to transition from
            operating in the standalone mode to operating in accordance with the first predefined
16
            grouping of zone players such that the first zone player is configured to coordinate with at
17          least the second zone player to output media in synchrony with output of media by at least
            the second zone player.
18
19          744.    In my opinion, claim limitations 1.5-1.10/9.2-9.7 of claims 1 and 9 of the ’966

20   Patent can be met by a “computing device” that is capable of performing each respective function

21   of claim limitations 1.5-1.10/9.2-9.7 at a time when the “first zone player” is operating in

22   “standalone mode,” regardless of whether the “first zone player” ”continues to operate in

23   “standalone mode” during the time in-between when any two of the respective functions recited

24   in claim limitations 1.5-1.10/9.2-9.7 are performed. Neither claim limitation 1.4/9.1 nor claim

25   limitation 1.11/9.8 nor any other limitation of claims 1 and 9 of the’966 Patent requires the “first

26   zone player” to operate in “standalone mode” continuously while all of claim limitations 1.5-

27   1.10/9.2-9.7 are performed by the “computing device.” Rather, with respect to the “standalone

28   mode” requirement, the “computing device” need only be capable of (i) performing each

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 1   respective function of claim limitations 1.5-1.10/9.2-9.7 at a time when a first Accused Google

 2   Player is operating in “standalone mode” and then (ii) performing the function of claim limitation

 3   1.11/9.8, which recites, among other things, “causing the first zone player to transition from

 4   operating in the standalone mode to operating in accordance with the first predefined grouping of

 5   zone players.”

 6          745.      Applying this proper interpretation of the “standalone mode” requirement of the

 7   Asserted Claims of the’966 Patent, Google’s second purported non-infringing alternative does not

 8   avoid infringement. As explained below, each Accused Google Controller is still programmed

 9   with the functional capability for (i) performing each respective function of claim limitations 1.5-

10   1.10/9.2-9.7 at a time when a first Accused Google Player is operating in “standalone mode” and

11   then (ii) performing the function of claim limitation 1.11/9.8, which recites, among other things,

12   “causing the first zone player to transition from operating in the standalone mode to operating in

13   accordance with the first predefined grouping of zone players.”

14                                  Claim Limitations 1.5/9.2 and 1.6/9.3

15          746.      Based on my understanding of Google’s second purported non-infringing

16   alternative, it is my opinion that each Accused Google Controller is still programmed with the

17   functional capability required by claim limitations 1.5/9.2 and 1.6/9.3.

18          747.      For instance, based on my understanding of Google’s second purported non-

19   infringing alternative, each Accused Google Controller (the claimed “computing device”) still has

20   the functional capability to perform each respective function of claim limitations 1.5/9.2 and

21   1.6/9.3 at a time when a first Accused Google Product (the claimed “first zone player”) is operating

22   in standalone mode (whether or not engaging in active playback of media). See Sections XIV.C.3,

23   XIV.C.4.

24                                  Claim Limitations 1.7/9.4 and 1.8/9.5

25          748.      Based on my understanding of Google’s second purported non-infringing

26   alternative, it is my opinion that each Accused Google Controller is still programmed with the

27   functional capability required by claim limitations 1.7/9.4 and 1.8/9.5.

28          749.      For instance, based on my understanding of Google’s second purported non-

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 1   infringing alternative, each Accused Google Controller (the claimed “computing device”) still has

 2   the functional capability to perform each respective function of claim limitations 1.7/9.4 and

 3   1.8/9.5 at a time when the first Accused Google Product (the claimed “first zone player”) is

 4   operating in standalone mode (whether or not engaging in active playback of media). See Sections

 5   XIV.C.5, XIV.C.6.

 6          750.    Indeed, the only relevant difference from the prior operation of Google’s products

 7   is that, in Google’s second purported non-infringing alternative, the performance of claim

 8   limitation 1.6/9.3 by the Accused Google Controller would cause the first “speaker group” (the

 9   claimed “first zone scene”) to be launched automatically and thus cause the first Accused Google

10   Product to stop operating in standalone mode and to begin operating in accordance with the first

11   “speaker group.” But this does not avoid infringement of claim limitations 1.7/9.4 and 1.8/9.5, as

12   the Accused Google Controller still has the functional capability to perform each of the respective

13   functions of claim limitations 1.7/9.4 and 1.8/9.5 at a time when the first Accused Google Product

14   is operating in standalone mode. For example, after the first “speaker group” is launched

15   automatically and the first Accused Google Product begins operating in accordance with the first

16   “speaker group,” the Accused Google Controller can be used to cause the first Accused Google

17   Product to stop operating in accordance with the first “speaker group” and to resume operating in

18   standalone mode prior to the Accused Google Controller performing claim limitations 1.7/9.4 and

19   1.8/9.5 (e.g., by tapping the “Stop” button for the first “speaker group” that is presented by the

20   GUI for the Google Home app’s Media tab or the “Stop Casting” button for the first “speaker

21   group” that is presented by the GUI for the YouTube Music app).

22                                Claim Limitations 1.9/9.6 and 1.10/9.7

23          751.    Based on my understanding of Google’s second purported non-infringing

24   alternative, it is my opinion that each Accused Google Controller is still programmed with the

25   functional capability required by claim limitations 1.9/9.6 and 1.10/9.7.

26          752.    For instance, based on my understanding of Google’s second purported non-

27   infringing alternative, each Accused Google Controller (the claimed “computing device”) still has

28   the functional capability to perform each of the respective functions of claim limitations 1.9/9.6

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 1   and 1.10/9.7 at a time when the first Accused Google Product (the claimed “first zone player”) is

 2   operating in standalone mode (whether or not engaging in active playback of media). See Sections

 3   XIV.C.7, XIV.C.8.

 4          753.    Indeed, the only relevant difference from the prior operation of Google’s products

 5   is that, in Google’s second purported non-infringing alternative, the performance of claim

 6   limitation 1.8/9.5 by the Accused Google Controller would cause the second “speaker group” (the

 7   claimed “second zone scene”) to be launched automatically and thus cause the first Accused

 8   Google Product to stop operating in standalone mode and to begin operating in accordance with

 9   the second “speaker group.” But this does not avoid infringement of claim limitations 1.8/9.5 and

10   1.10/9.7, as the Accused Google Controller still has the functional capability to perform each of

11   the respective functions of claim limitations 1.9/9.6 and 1.10/9.7 at a time when the first Accused

12   Google Product is operating in standalone mode. For example, after the second “speaker group”

13   is launched automatically and the second Accused Google Product begins operating in accordance

14   with the second “speaker group,” the Accused Google Controller can be used to cause the first

15   Accused Google Product to stop operating in accordance with the second “speaker group” and to

16   resume operating in standalone mode prior to the Accused Google Controller performing claim

17   limitations 1.9/9.6 and 1.10/9.7 (e.g., by tapping the “Stop” button for the second “speaker group”

18   that is presented by the GUI for the Google Home app’s Media tab or the “Stop Casting” button

19   for the second “speaker group” that is presented by the GUI for the YouTube Music app).

20                                       Claim Limitation 1.11/9.8

21          754.    Based on my understanding of Google’s second purported non-infringing

22   alternative, it is my opinion that each Accused Google Controller is still programmed with the

23   functional capability required by claim limitation 1.11/9.8.

24          755.    For instance, based on my understanding of Google’s second purported non-

25   infringing alternative, each Accused Google Controller (the claimed “computing device”) still has

26   the functional capability to perform the function of claim limitation 1.11/9.8 and thereby cause the

27   first Accused Google Player (the claimed “first zone player”) to transition from operating in the

28   standalone mode to operating in in accordance with that first “speaker group” (the claimed “first

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 1   zone scene”) such that the first and second Accused Google Players (the claimed “first” and

 2   “second” “zone players”) become configured to coordinate with one another in order to output

 3   audio in synchrony. See Section XIV.C.9.

 4          756.    Indeed, the only relevant difference from the prior operation of Google’s products

 5   is that, in Google’s second purported non-infringing alternative, the performance of claim

 6   limitation 1.8/9.5 by the Accused Google Controller would cause the second “speaker group” (the

 7   claimed “second zone scene”) to be launched automatically and thus cause the first Accused

 8   Google Product to stop operating in standalone mode and to begin operating in accordance with

 9   the second “speaker group.” But this does not avoid infringement of claim limitation 1.11/9.8, as

10   the Accused Google Controller still has the functional capability to perform the function of claim

11   limitation 1.11/9.8 at a time when the first Accused Google Product is operating in standalone

12   mode. For example, after the second “speaker group” is launched automatically and the second

13   Accused Google Product begins operating in accordance with the second “speaker group,” the

14   Accused Google Controller can be used to cause the first Accused Google Product to stop

15   operating in accordance with the second “speaker group” and to resume operating in standalone

16   mode prior to the Accused Google Controller performing claim limitation 1.11/9.8 (e.g., by

17   tapping the “Stop” button for the second “speaker group” that is presented by the GUI for the

18   Google Home app’s Media tab or the “Stop Casting” button for the second “speaker group” that

19   is presented by the GUI for the YouTube Music app).

20                  3.     Non-Infringing Alternative #2 Is Not Commercially Acceptable

21          757.    In my opinion, in addition to not being “non-infringing,” Google’s second

22   purported non-infringing alternative is also not commercially acceptable because it would

23   significantly degrade the user experience by causing the user to lose control of the playback (or

24   silence) in different areas of the user’s home when the user wants to create and save a Google

25   “speaker group” for future use.

26          758.    For instance, consider a scenario where a user is enjoying listening to music on an

27   individual Accused Google Player on the first floor of the user’s home and decides to set up a new

28   “speaker group” for future use that includes the Accused Google Player that is playing music on

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 1   the first floor and another Accused Google Player that is not playing music on the second floor of

 2   the user’s home where the user’s baby is sleeping. In this scenario, implementing Google’s second

 3   purported non-infringing alternative would mean that both Accused Google Players would be

 4   caused to play the same music in synchrony in response to the act of setting up the new “speaker

 5   group,” despite the fact that the user does not want to wake up the sleeping baby by playing music

 6   on the second floor. Such a disruption to a user’s listening experience and loss of control as to

 7   where music is playing in the user’s home would not be commercially acceptable.

 8          759.    As another example, consider a scenario where a first user is enjoying music on an

 9   Accused Google Player on the first floor of a home and a second user is enjoying different music

10   on a different Accused Google Player on the second floor of the home. If one of the users decides

11   to set up a new “speaker group” for future use that includes both of these Accused Google Players,

12   according to Google’s second purported non-infringing alternative, one of the users would be

13   forced to not only stop listening to his or her music but also be forced to listen to the other user’s

14   music. Further, it would be difficult for the users to know which user’s music would be played by

15   the group because my understanding is that the music being played by the Accused Google Player

16   that is designated as the leader would prevail and the users are unlikely to know which Accused

17   Google Player is the leader. Again, such a disruption to a user’s listening experience and loss of

18   control as to where music is playing in the user’s home would not be commercially acceptable.

19          760.    Notably, a Google product manager, Tomer Shekel, confirmed that Google’s

20   second purported non-infringing alternative would not be commercially acceptable. Specifically,

21   Mr. Shekel testified that “if by setting a group you’ll now be stopping the music a person played

22   [on an Accused Google Player then] that would not be a great experience for that user.” See

23   11/23/2022 T. Shekel Dep. Tr. at 99:9-16 (Q: “Would you say that it’s an important feature for the

24   music playback [on Accused Google Players] to not be disturbed while you set up new groups?”

25   A: In my opinion, if by setting a group you’ll now be stopping the music a person played that

26   would not be a great experience for that user.”).

27          761.    Further, I understand that Google has been providing users with the ability to listen

28   to audio on an individual Accused Google Player while setting up new speaker groups that include

                                                      322
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 1   the Accused Google Player and to continue to listen to that same audio on the Accused Google

 2   Player after setting up one or more speaker groups that include the Accused Google Player, and to

 3   do so without initiating synchronous audio playback on another Accused Google Player in the

 4   user’s home since at least as early as December 2015. See, e.g., SONOS-SVG2-00040246-49;

 5   5/10/2022 K. MacKay Dep. Tr. at 260:21-263:20 (testifying that Google began developing its

 6   “static” speaker group functionality in “March of 2015” and that “one advantage might be that the

 7   group is available as a Cast target separately from the individual devices” in the group). Thus, at

 8   the time Google would have allegedly implemented its second purported non-infringing alternative

 9   some four to five years later in November 2019 and/or November 2020 (when the ’966 Patent and

10   ’885 Patent issued, respectively), Google’s customers would have been accustomed to being able

11   to create and save a new speaker group without interrupting active playback on an Accused Google

12   Player in the new speaker group and without initiating synchronous audio playback on another

13   Accused Google Player in the user’s home. In my opinion, this further confirms that Google’s

14   second purported non-infringing alternative would not have been commercially acceptable.

15          762.    Further yet, during a discussion with Mr. Nick Millington, who is Sonos’s Chief

16   Innovation Officer, I asked Mr. Millington for his thoughts regarding a hypothetical change to the

17   design of Sonos’s “saved groups” feature whereby the act of creating a new saved group would

18   cause the new saved group to be invoked automatically. In response, Mr. Millington indicated that

19   he did not believe Sonos’s customers would consider this to be an acceptable change to Sonos’s

20   “saved groups” feature due to the loss of control and disruption of a user’s listening experience –

21   particularly in the example scenarios summarized above.

22          C.      Non-Infringing Alternative #3

23                  1.      Overview of Non-Infringing Alternative #3

24          763.    As set forth in Google’s First Supplemental Response to Interrogatory No. 18,

25   Google refers to its third purported non-infringing alternative as “no overlapping groups” and

26   asserts that this “non-infringing alternative is an implementation in which a speaker that is already

27   a member of one group will be forced out of this (first) group when a user attempts to add the

28   speaker to a new (second) group” and “with this non-infringing alternative, no speaker can be a

                                                     323
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 1           817.    To help assist in my testimony at trial, I have prepared a number of demonstratives

 2   that are attached hereto as Exhibit Q. These demonstratives are exemplary and I reserve the right

 3   to create additional demonstratives and/or to modify the demonstratives in Exhibit Q based on the

 4   material in this report. For example, I reserve the right to create additional demonstratives and/or

 5   to modify the demonstratives in Exhibit Q based on the testing screenshots I included in this report

 6   as well as the evidence cited in this report. I also reserve the right to rely on the demonstratives

 7   that were attached as Exhibit H to my Opening report regarding Asserted Claim 1 of the ’885

 8   Patent dated June 22, 2022.

 9           818.    I have also reviewed Sonos’s Technology Tutorial that provides an overview of the

10   ’885 Patent, which I understand was submitted to the court in February 2022. I incorporate by

11   reference herein Sonos’s Technology Tutorial and expressly reserve the right to use the

12   Technology Tutorial in whole or in part as a demonstrative to assist in my testimony.

13   XX.     RESERVATION OF RIGHT

14           819.    I reserve the right to further expound on my opinions set forth herein in subsequent

15   declarations, reports, and/or at trial.

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     Dated: November 30, 2022                       By:
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                                                           Kevin C. Almeroth
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